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           EXHIBIT 3
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                                  11114




                                 EXECUTIVE ORDER

                                        No. 2020-42

                  Temporary requirement to suspend activities that
                     are not necessary to sustain or protect life

                         Rescission of Executive Order 2020-21


 The novel coronavirus (COVID-19) is a respiratory disease that can result in serious illness
 or death. It is caused by a new strain of coronavirus not previously identified in humans
 and easily spread from person to person. There is currently no approved vaccine or antiviral
 treatment for this disease.

 On March 10, 2020, the Michigan Department of Health and Human Services identified the
 first two presumptive-positive cases of COVID-19 in Michigan. On that same day, I issued
 Executive Order 2020-4. This order declared a state of emergency across the state of
 Michigan under section 1 of article 5 of the Michigan Constitution of 1963, the Emergency
 Management Act, 1976 PA 390, as amended, MCL 30.401 et seq., and the Emergency
 Powers of the Governor Act of 1945, 1945 PA 302, as amended, MCL 10.31 et seq.

 In the three weeks that followed, the virus spread across Michigan, bringing deaths in the
 hundreds, confirmed cases in the thousands, and deep disruption to this state’s economy,
 homes, and educational, civic, social, and religious institutions. On April 1, 2020, in
 response to the widespread and severe health, economic, and social harms posed by the
 COVID-19 pandemic, I issued Executive Order 2020-33. This order expanded on Executive
 Order 2020-4 and declared both a state of emergency and a state of disaster across the
 State of Michigan under section 1 of article 5 of the Michigan Constitution of 1963, the
 Emergency Management Act, and the Emergency Powers of the Governor Act of 1945.

 The Emergency Management Act vests the governor with broad powers and duties to
 “cop[e] with dangers to this state or the people of this state presented by a disaster or
 emergency,” which the governor may implement through “executive orders, proclamations,
 and directives having the force and effect of law.” MCL 30.403(1)-(2). Similarly, the
 Emergency Powers of the Governor Act of 1945 provides that, after declaring a state of
 emergency, “the governor may promulgate reasonable orders, rules, and regulations as he
 or she considers necessary to protect life and property or to bring the emergency situation
 within the affected area under control.” MCL 10.31(1).


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 To suppress the spread of COVID-19, to prevent the state’s health care system from being
 overwhelmed, to allow time for the production of critical test kits, ventilators, and personal
 protective equipment, and to avoid needless deaths, it is reasonable and necessary to direct
 residents to remain at home or in their place of residence to the maximum extent feasible.
 To that end, on March 23, 2020, I issued Executive Order 2020-21, ordering all people in
 Michigan to stay home and stay safe. The order limited gatherings and travel, and required
 workers who are not necessary to sustain or protect life to stay home.

 The measures put in place by Executive Order 2020-21 have been effective, but this virus is
 both aggressive and persistent: on April 8, 2020, Michigan reported 20,346 confirmed cases
 of COVID-19 and 959 deaths from it. To win this fight, and to protect the health and safety
 of our state and each other, we must be just as aggressive and persistent. Though we have
 all made sacrifices, we must be steadfast. Accordingly, with this order, I find it reasonable
 and necessary to reaffirm the measures set forth in Executive Order 2020-21, clarify them,
 and extend their duration to April 30, 2020. This order takes effect on April 9, 2020 at 11:59
 pm. When this order takes effect, Executive Order 2020-21 is rescinded.

 Acting under the Michigan Constitution of 1963 and Michigan law, I order the following:

 1.     This order must be construed broadly to prohibit in-person work that is not
        necessary to sustain or protect life.

 2.     Subject to the exceptions in section 7 of this order, all individuals currently living
        within the State of Michigan are ordered to stay at home or at their place of
        residence. Subject to the same exceptions, all public and private gatherings of any
        number of people occurring among persons not part of a single household are
        prohibited.

 3.     All individuals who leave their home or place of residence must adhere to social
        distancing measures recommended by the Centers for Disease Control and
        Prevention (“CDC”), including remaining at least six feet from people from outside
        the individual’s household to the extent feasible under the circumstances.

 4.     No person or entity shall operate a business or conduct operations that require
        workers to leave their homes or places of residence except to the extent that those
        workers are necessary to sustain or protect life or to conduct minimum basic
        operations.

        (a)    For purposes of this order, workers who are necessary to sustain or protect
               life are defined as “critical infrastructure workers,” as described in sections 8
               and 9 of this order.

        (b)    For purposes of this order, workers who are necessary to conduct minimum
               basic operations are those whose in-person presence is strictly necessary to
               allow the business or operation to maintain the value of inventory and
               equipment, care for animals, ensure security, process transactions (including
               payroll and employee benefits), or facilitate the ability of other workers to
               work remotely.


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              Businesses and operations must determine which of their workers are
              necessary to conduct minimum basic operations and inform such workers of
              that designation. Businesses and operations must make such designations in
              writing, whether by electronic message, public website, or other appropriate
              means. Workers need not carry copies of their designations when they leave
              the home or place of residence for work.

              Any in-person work necessary to conduct minimum basic operations must be
              performed consistently with the social distancing practices and other
              mitigation measures described in section 10 of this order.

 5.    Businesses and operations that employ critical infrastructure workers may continue
       in-person operations, subject to the following conditions:

       (a)    Consistent with sections 8 and 9 of this order, businesses and operations
              must determine which of their workers are critical infrastructure workers
              and inform such workers of that designation. Businesses and operations must
              make such designations in writing, whether by electronic message, public
              website, or other appropriate means. Workers need not carry copies of their
              designations when they leave the home or place of residence for work.
              Businesses and operations need not designate:

              (1)    Workers in health care and public health.

              (2)    Workers who perform necessary government activities, as described in
                     section 6 of this order.

              (3)    Workers and volunteers described in section 9(d) of this order.

       (b)    In-person activities that are not necessary to sustain or protect life must be
              suspended until normal operations resume.

       (c)    Businesses and operations maintaining in-person activities must adopt social
              distancing practices and other mitigation measures to protect workers and
              patrons, as described in section 10 of this order. Stores that are open to the
              public must also adhere to the rules described in section 11 of this order.

 6.    All in-person government activities at whatever level (state, county, or local) that
       are not necessary to sustain or protect life, or to support those businesses and
       operations that are necessary to sustain or protect life, are suspended.

       (a)    For purposes of this order, necessary government activities include activities
              performed by critical infrastructure workers, including workers in law
              enforcement, public safety, and first responders.

       (b)    Such activities also include, but are not limited to, public transit, trash pick-
              up and disposal (including recycling and composting), activities necessary to
              manage and oversee elections, operations necessary to enable transactions
              that support the work of a business’s or operation’s critical infrastructure

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             workers, and the maintenance of safe and sanitary public parks so as to allow
             for outdoor activity permitted under this order.

       (c)   For purposes of this order, necessary government activities include minimum
             basic operations, as described in section 4(b) of this order. Workers
             performing such activities need not be designated.

       (d)   Any in-person government activities must be performed consistently with the
             social distancing practices and other mitigation measures to protect workers
             and patrons described in section 10 of this order.

 7.    Exceptions.

       (a)   Individuals may leave their home or place of residence, and travel as
             necessary:

             (1)     To engage in outdoor physical activity, consistent with remaining at
                     least six feet from people from outside the individual’s household.
                     Outdoor physical activity includes walking, hiking, running, cycling,
                     kayaking, canoeing, or other similar physical activity, as well as any
                     comparable activity for those with limited mobility.

             (2)     To perform their jobs as critical infrastructure workers after being so
                     designated by their employers. (Critical infrastructure workers who
                     need not be designated under section 5(a) of this order may leave their
                     home for work without being designated.)

             (3)     To conduct minimum basic operations, as described in section 4(b) of
                     this order, after being designated to perform such work by their
                     employers.

             (4)     To perform necessary government activities, as described in section 6
                     of this order.

             (5)     To perform tasks that are necessary to their health and safety, or to
                     the health and safety of their family or household members (including
                     pets). Individuals may, for example, leave the home or place of
                     residence to secure medication or to seek medical or dental care that is
                     necessary to address a medical emergency or to preserve the health
                     and safety of a household or family member (including procedures
                     that, in accordance with a duly implemented nonessential procedures
                     postponement plan, have not been postponed).

             (6)     To obtain necessary services or supplies for themselves, their family or
                     household members, their pets, and their vehicles.

                     (A)    Individuals must secure such services or supplies via delivery
                            to the maximum extent possible. As needed, however,
                            individuals may leave the home or place of residence to

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                             purchase groceries, take-out food, gasoline, needed medical
                             supplies, and any other products necessary to maintain the
                             safety, sanitation, and basic operation of their residences.
                             Individuals may also leave the home to drop off a vehicle to the
                             extent permitted under section 9(i) of this order.

                     (B)     Individuals should limit, to the maximum extent that is safe
                             and feasible, the number of household members who leave the
                             home for any errands.

              (7)    To care for a family member or a family member’s pet in another
                     household.

              (8)    To care for minors, dependents, the elderly, persons with disabilities, or
                     other vulnerable persons.

              (9)    To visit an individual under the care of a health care facility, residential
                     care facility, or congregate care facility, to the extent otherwise
                     permitted.

              (10)   To attend legal proceedings or hearings for essential or emergency
                     purposes as ordered by a court.

              (11)   To work or volunteer for businesses or operations (including both
                     religious and secular nonprofit organizations) that provide food,
                     shelter, and other necessities of life for economically disadvantaged or
                     otherwise needy individuals, individuals who need assistance as a
                     result of this emergency, and people with disabilities.

              (12)   To attend a funeral, provided that no more than 10 people are in
                     attendance at the funeral.

       (b)    Individuals may also travel:

              (1)    To return to a home or place of residence from outside this state.

              (2)    To leave this state for a home or residence elsewhere.

              (3)    Between two residences in this state, through April 10, 2020. After
                     that date, travel between two residences is not permitted.

              (4)    As required by law enforcement or a court order, including the
                     transportation of children pursuant to a custody agreement.

       (c)    All other travel is prohibited, including all travel to vacation rentals.

 8.    For purposes of this order, critical infrastructure workers are those workers
       described by the Director of the U.S. Cybersecurity and Infrastructure Security
       Agency in his guidance of March 19, 2020 on the COVID-19 response (available

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       here). This order does not adopt any subsequent guidance document released by this
       same agency.

       Consistent with the March 19, 2020 guidance document, critical infrastructure
       workers include some workers in each of the following sectors:

       (a)    Health care and public health.

       (b)    Law enforcement, public safety, and first responders.

       (c)    Food and agriculture.

       (d)    Energy.

       (e)    Water and wastewater.

       (f)    Transportation and logistics.

       (g)    Public works.

       (h)    Communications and information technology, including news media.

       (i)    Other community-based government operations and essential functions.

       (j)    Critical manufacturing.

       (k)    Hazardous materials.

       (l)    Financial services.

       (m)    Chemical supply chains and safety.

       (n)    Defense industrial base.

 9.    For purposes of this order, critical infrastructure workers also include:

       (a)    Child care workers (including workers at disaster relief child care centers),
              but only to the extent necessary to serve the children or dependents of
              workers required to perform in-person work as permitted under this order.
              This category includes individuals (whether licensed or not) who have
              arranged to care for the children or dependents of such workers.

       (b)    Workers at suppliers, distribution centers, or service providers, as described
              below.

              (1)    Any suppliers, distribution centers, or service providers whose
                     continued operation is necessary to enable, support, or facilitate
                     another business’s or operation’s critical infrastructure work may
                     designate their workers as critical infrastructure workers, provided

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                    that only those workers whose in-person presence is necessary to
                    enable, support, or facilitate such work may be so designated.

             (2)    Any suppliers, distribution centers, or service providers whose
                    continued operation is necessary to enable, support, or facilitate the
                    necessary work of suppliers, distribution centers, or service providers
                    described in subprovision (1) of this subsection may designate their
                    workers as critical infrastructure workers, provided that only those
                    workers whose in-person presence is necessary to enable, support, or
                    facilitate such work may be so designated.

             (3)    Consistent with the scope of work permitted under subprovision (2) of
                    this subsection, any suppliers, distribution centers, or service
                    providers further down the supply chain whose continued operation is
                    necessary to enable, support, or facilitate the necessary work of other
                    suppliers, distribution centers, or service providers may likewise
                    designate their workers as critical infrastructure workers, provided
                    that only those workers whose in-person presence is necessary to
                    enable, support, or facilitate such work may be so designated.

             (4)    Suppliers, distribution centers, and service providers that abuse their
                    designation authority under this subsection shall be subject to
                    sanctions to the fullest extent of the law.

       (c)   Workers in the insurance industry, but only to the extent that their work
             cannot be done by telephone or remotely.

       (d)   Workers and volunteers for businesses or operations (including both religious
             and secular nonprofit organizations) that provide food, shelter, and other
             necessities of life for economically disadvantaged or otherwise needy
             individuals, individuals who need assistance as a result of this emergency,
             and people with disabilities.

       (e)   Workers who perform critical labor union functions, including those who
             administer health and welfare funds and those who monitor the well-being
             and safety of union members who are critical infrastructure workers,
             provided that any administration or monitoring should be done by telephone
             or remotely where possible.

       (f)   Workers at retail stores who sell groceries, medical supplies, and products
             necessary to maintain the safety, sanitation, and basic operation of
             residences, including convenience stores, pet supply stores, auto supplies and
             repair stores, hardware and home maintenance stores, and home appliance
             retailers.

       (g)   Workers at laundromats, coin laundries, and dry cleaners.




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       (h)    Workers at hotels and motels, provided that the hotels or motels do not offer
              additional in-house amenities such as gyms, pools, spas, dining,
              entertainment facilities, meeting rooms, or like facilities.

       (i)    Workers at motor vehicle dealerships who are necessary to facilitate remote
              and electronic sales or leases, or to deliver motor vehicles to customers,
              provided that showrooms remain closed to in-person traffic.

 10.   Businesses, operations, and government agencies that continue in-person work must
       adhere to sound social distancing practices and measures, which include but are not
       limited to:

       (a)    Developing a COVID-19 preparedness and response plan, consistent with
              recommendations in Guidance on Preparing Workplaces for COVID-19,
              developed by the Occupational Health and Safety Administration and
              available here. Such plan must be available at company headquarters or the
              worksite.

       (b)    Restricting the number of workers present on premises to no more than is
              strictly necessary to perform the business’s, operation’s, or government
              agency’s critical infrastructure functions or its minimum basic operations.

       (c)    Promoting remote work to the fullest extent possible.

       (d)    Keeping workers and patrons who are on premises at least six feet from one
              another to the maximum extent possible.

       (e)    Increasing standards of facility cleaning and disinfection to limit worker and
              patron exposure to COVID-19, as well as adopting protocols to clean and
              disinfect in the event of a positive COVID-19 case in the workplace.

       (f)    Adopting policies to prevent workers from entering the premises if they
              display respiratory symptoms or have had contact with a person with a
              confirmed diagnosis of COVID-19.

       (g)    Any other social distancing practices and mitigation measures recommended
              by the CDC.

 11.   Any store that remains open for in-person sales under section 5 or 9(f) of this order
       must:

       (a)    Establish lines to regulate entry in accordance with subsections (c) and (d) of
              this section, with markings for patrons to enable them to stand at least six
              feet apart from one another while waiting. Stores should also explore
              alternatives to lines, including by allowing customers to wait in their cars for
              a text message or phone call, to enable social distancing and to accommodate
              seniors and those with disabilities.



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       (b)    Consider establishing curbside pick-up to reduce in-store traffic and mitigate
              outdoor lines.

       (c)    For stores of less than 50,000 square feet of customer floor space, limit the
              number of people in the store (including employees) to 25% of the total
              occupancy limits established by the State Fire Marshal or a local fire
              marshal.

       (d)    For stores of more than 50,000 square feet:

              (1)    Limit the number of customers in the store at one time (excluding
                     employees) to 4 people per 1,000 square feet of customer floor space.
                     The amount of customer floor space must be calculated to exclude
                     store areas that are closed under subprovision (2) of this subsection.

              (2)    Close areas of the store—by cordoning them off, placing signs in aisles,
                     posting prominent signs, removing goods from shelves, or other
                     appropriate means—that are dedicated to the following classes of
                     goods:

                     (A)     Carpet or flooring.

                     (B)     Furniture.

                     (C)     Garden centers and plant nurseries.

                     (D)     Paint.

              (3)    By April 13, 2020, refrain from the advertising or promotion of goods
                     that are not groceries, medical supplies, or items that are necessary to
                     maintain the safety, sanitation, and basic operation of residences.

              (4)    Create at least two hours per week of dedicated shopping time for
                     vulnerable populations, which for purposes of this order are people
                     over 60, pregnant women, and those with chronic conditions like heart
                     disease, diabetes, and lung disease.

       (e)    The director of the Department of Health and Human Services is authorized
              to issue an emergency order varying the capacity limits described in
              subsections (c) and (d) of this section as necessary to protect the public
              health.

 12.   No one shall advertise or rent a short-term vacation property except as necessary to
       assist in housing a health care professional or volunteer aiding in the response to
       the COVID-19 crisis.

 13.   Nothing in this order should be taken to supersede another executive order or
       directive that is in effect, except to the extent this order imposes more stringent
       limitations on in-person work, activities, and interactions. Consistent with prior

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       guidance, a place of religious worship, when used for religious worship, is not subject
       to penalty under section 17 of this order.

 14.   Nothing in this order should be taken to interfere with or infringe on the powers of
       the legislative and judicial branches to perform their constitutional duties or
       exercise their authority.

 15.   This order takes effect on April 9, 2020 at 11:59 pm and continues through April 30,
       2020 at 11:59 pm. When this order takes effect, Executive Order 2020-21 is
       rescinded. All references to that order in other executive orders, agency rules, letters
       of understanding, or other legal authorities shall be taken to refer to this order.

 16.   I will evaluate the continuing need for this order prior to its expiration. In
       determining whether to maintain, intensify, or relax its restrictions, I will consider,
       among other things, (1) data on COVID-19 infections and the disease’s rate of
       spread; (2) whether sufficient medical personnel, hospital beds, and ventilators exist
       to meet anticipated medical need; (3) the availability of personal protective
       equipment for the health-care workforce; (4) the state’s capacity to test for COVID-
       19 cases and isolate infected people; and (5) economic conditions in the state.

 17.   Consistent with MCL 10.33 and MCL 30.405(3), a willful violation of this order is a
       misdemeanor.


 Given under my hand and the Great Seal of the State of Michigan.




 Date: April 9, 2020                           ___________________________________
                                               GRETCHEN WHITMER
 Time: 2:07 pm                                 GOVERNOR



                                               By the Governor:



                                               ___________________________________
                                               SECRETARY OF STATE




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